            Case 1:21-cv-06628-ER Document 12 Filed 11/03/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DENETTE J. LIGON,
                               Plaintiff,
                                                                        ORDER
                      – against –
                                                                     21 Civ. 6628 (ER)

TOO FACED COSMETICS, LLC,
                               Defendant.


RAMOS, D.J.:

         ๠H&RXUWKDYLQJEHHQDGYLVHGWKDWDOOFODLPVDVVHUWHGKHUHLQKDYHEHHQVHWWOHGLWLV

25'(5('WKDWWKHDERYH-HQWLWOHGDFWLRQEHDQGKHUHE\LVGLVFRQWLQXHGZLWKRXWFRVWVWRHLWKHU

SDUW\VXEMHFWWRUHRSHQLQJVKRXOGWKHVHWWOHPHQWQRWEHFRQVXPPDWHGwithin forty-¿YH 

days RIWKHGDWHKHUHRI

         $Q\DSSOLFDWLRQWRUHRSHQPXVWEH¿OHGwithin forty-¿YH  days RIWKLV2UGHUDQ\

DSSOLFDWLRQWRUHRSHQ¿OHGWKHUHDIWHUPD\EHGHQLHGVROHO\RQWKDWEDVLV )XUWKHUWKHSDUWLHVDUH

DGYLVHGWKDWLIWKH\ZLVKWKH&RXUWWRUHWDLQMXULVGLFWLRQLQWKLVPDWWHUIRUSXUSRVHVRIHQIRUFLQJ

DQ\VHWWOHPHQWDJUHHPHQWWKH\PXVWVXEPLWWKHVHWWOHPHQWDJUHHPHQWWRWKH&RXUWZLWKLQWKH

QH[Wforty-¿YH  days ZLWKDUHTXHVWWKDWWKHDJUHHPHQWEH³VRRUGHUHG´E\WKH&RXUW


         SO ORDERED.


Dated:    1RYHPEHU
          1HZ<RUN1HZ<RUN
                                                                    (GJDUGR5DPRV86'-
